         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL NO. 1:05CR23-12


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )                     ORDER
                          )
                          )
JOHNNY SHANE MORRIS       )
                        )


     THIS MATTER is before the Court on motion of Defendant’s

appellate counsel for an order releasing a copy of the Defendant’s

presentence report for use in the pending appeal.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report is ALLOWED. The Clerk is directed to

unseal the report, make a copy thereof, send it forthwith to Defendant’s

appellate counsel, and place the report again under seal.




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                                Signed: April 13, 2006




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